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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-cv-00992-RBJ-KLM

   AHMAD AJAJ,

          Plaintiff,

   v.

   FEDERAL BUREAU OF PRISONS,

          Defendant.


                                   DEFENDANT’S TRIAL BRIEF


          The Federal Bureau of Prisons submits this trial brief to note recent factual

   developments relating to the case’s two main issues (Plaintiff’s religious dietary demands

   and his access to an imam), to set forth the legal standards applicable to the claims, and to

   respond to the issues raised in Plaintiff’s Trial Brief with respect to mootness and witnesses.

   I.     STATUS OF IMAM AND DIET

          Imam. USP Terre Haute has been in the process of hiring an imam and has recently had

   success. In April 2018, the BOP informed the Court that “Since May 1, 2017, USP Terre Haute

   has had a contract with a company that has been searching for an imam for the [Life Connections

   Program (“LCP”)],” where Plaintiff is housed. ECF No. 209 at 12. In July 2018, the BOP

   explained that by trial, USP Terre Haute “expects to have hired an imam to serve Ajaj and the

   other inmates” in his unit. ECF No. 232 at 1. That imam withdrew, but on August 20, 2018, the

   BOP informed the Court that as a replacement, it had “secured a temporary contract imam to

   start this week, and is reposting the contract for a longer-term imam position in the unit.” ECF
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   No. 263 at 3. The contract imam started in Plaintiff’s unit on Wednesday, August 22, 2018.

          That imam will be in Plaintiff’s unit two days each week, and is available to Plaintiff

   (and others in the unit) for spiritual instruction and counseling. He has experience serving as an

   imam at USP Terre Haute for several years in the past. He is serving on a renewable month-to-

   month contract and is expected to hold that position until the longer-term contract (a one-year

   contract with a multi-year option) can be filled.

          Diet. The BOP has also taken steps as to Plaintiff’s request for a special religious diet.

   As the BOP’s counsel explained on August 9, 2018, at the Trial Preparation Conference, the

   BOP had in the past viewed its certified food diet as meeting halal standards, but Plaintiff had

   identified various additional dietary specifications, and the BOP had taken steps to try to find a

   vendor to satisfy his requirements. On August 17, 2018, the BOP informed the Court that it had

   received no complete bids that could meet all the specifications, including requirements for

   hand-slaughtering, which Plaintiff stated he required in his November 2017 deposition, so the

   BOP was taking a different approach. ECF No. 261 at 2-3. Plaintiff indicated that he was

   “appreciative” of the BOP’s actions. ECF No. 262 at 8.

          Last week, the BOP purchased meals for Plaintiff from a vendor with a halal certification.

   The BOP is hopeful that Plaintiff views these halal-certified meals as acceptable to him in light

   of his desired specifications. Those meals arrived at the end of last week.

          In addition, a BOP directive was issued last week specifically as to Mr. Ajaj’s diet. As

   the directive (which will be offered into evidence at trial) explains in more detail, these halal-

   certified meals will be purchased for Plaintiff going forward.



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   II.     RFRA CLAIMS (DIET AND IMAM)

           Plaintiff’s initial burden under the Religious Freedom Restoration Act is to “prov[e] the

   following three elements: (1) a substantial burden imposed by the federal government on a (2)

   sincere (3) exercise of religion.” Kikumura v. Hurley, 242 F.2d 950, 960 (10th Cir. 2001). If he

   meets that burden, the government has the burden to show that “application of the burden to the

   person—(1) is in furtherance of a compelling governmental interest; and (2) is the least

   restrictive means of furthering that compelling government interest.” 42 U.S.C. § 2000bb-1(b).

           Here, Plaintiff’s request is for the BOP to obtain meals for him fitting his particularized

   religious dietary requirements and to guarantee him weekly access to an imam. The evidence at

   trial will show that as to these requests, Plaintiff does not currently have any substantial burden

   on his religious exercise, and that the BOP’s actions are the least restrictive means of furthering

   its compelling interests. In its analysis, the Court should consider the following legal principles.

           First, the proper focus is on the individual request. The court must look to the “particular

   context” of “granting specific exemptions to particular religious claimants.” Holt v. Hobbs, 135

   S. Ct. 853, 863 (2015). “Put simply, we must examine both sides of the ledger on the same

   case-specific level of generality: asking whether the government’s particular interest in

   burdening this plaintiff’s particular religious exercise is justified in light of the record in this

   case.” Yellowbear v. Lampert, 741 F.3d 48, 57 (10th Cir 2014). “[T]he feasibility of requested

   exceptions usually should be assessed on a ‘case-by-case’ basis, taking each request as it

   comes…” Id. at 62.

           Second, “context matters.” Yellowbear v. Lampert, 741 F.3d 48, 57 (10th Cir 2014). For

   example, the Court must take into account factors that affect the ability to satisfy an individual

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   inmate’s particular request. See, e.g., United States v. Wilgus, 638 F.3d 1274, 1291 (10th Cir.

   2011) (in assessing a party’s request for eagle feathers, the court had to accept “as a given” the

   “current level of supply of eagle parts”),

          The Court also must take into account the prison setting. “[I]n applying RLUIPA’s

   statutory standard [which is the same here as under RFRA], courts should not blind themselves

   to the fact that the analysis is conducted in the prison setting.” Holt, 135 S. Ct. at 866-67; Cutter

   v. Wilkinson, 544 U.S. 709, 722-23 (2005) (explaining that under RLUIPA, “due deference” may

   be given to prison administrators). It is well recognized that prison administrators often have

   compelling interests, such as the need to maintain order and safety. Cutter, 544 U.S. at 722.

          In the prison context, not every denial of every religiously based request is enough to

   show a substantial burden. In Abdulsaheeb v. Calbone, 600 F.3d 1301 (10th Cir. 2010), the

   Tenth Circuit held that a prison did not violate RLUIPA “by failing to provide a full-time paid

   Muslim spiritual leader” or by “failing to host an Islamic revival.” Id. at 1321. As to the

   inmate’s diet claim, the court commented, “[w]e are not willing to conclude, however, that every

   single presentation of a meal an inmate considers impermissible constitutes a substantial burden

   on an inmate’s religious exercise.” Id.

          Third, to show that the government’s burden on the person is the least restrictive means

   of achieving its compelling interests, the government only “must refute the alternative schemes

   offered by the challenger….” Wilgus, 638 F.3d at 1289.

   IV.    EQUAL PROTECTION CLAIM (DIET AND IMAM)

          Scope. Plaintiff’s equal protection claim seeks injunctive relief and is limited to two

   specific issues: he claims he is being denied his religious diet and his access to an imam based

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   on his religion. 1

           Elements. “[T]he Due Process Clause of the Fifth Amendment contains an equal

   protection component prohibiting the United States from invidiously discriminating between

   individuals or groups.” Washington v. Davis, 426 U.S. 229, 239 (1976). Religion is a suspect

   classification. City of New Orleans v. Dukes, 427 U.S. 297, 303 (1976). Plaintiff has the burden

   to prove several elements to maintain his equal protection claim.

           First, Plaintiff must show that there is different treatment of other individuals who are

   similarly situated to him. Lollis v. City of Eufaula, 249 F. App’x 20, 25-26 (10th Cir. 2007). For

   example, in Robinson v. Jackson, 615 F. App’x 310, 314-15 (6th Cir. 2015) (unpublished), the

   court ruled that the Muslim plaintiff’s observation that Jewish inmates receive Kosher meals was

   insufficient, without more, to show that the plaintiff was similarly situated to those groups.

           Second, Plaintiff must show that the different treatment was motivated by an intent to

   discriminate against his religion—that is, purposeful discrimination. Harris v. McRae, 448 U.S.

   297, 323 n.26 (1980). “Congress is of course free to supplement the Constitution’s equal

   protection guarantee (and sometimes has) with statutes aimed at rooting out merely foreseen or

   even unintended discriminations. But for a constitutional violation to take place, an intent to


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           In its Order on the motion to dismiss, the Court explained that “plaintiff asserts Fifth
   Amendment Equal Protection causes of action based on defendants’ alleged failures to: (1)
   provide access to an imam; (2) provide a Halal diet; and (3) allow Muslims to participate in
   group prayer. ECF No. 29 at ¶¶400–414. Doc. 111 at 11. After Plaintiff was transferred to USP
   Terre Haute and gained access to group prayer there, the Court dismissed his claims relating to
   group prayer: “Mr. Ajaj no longer has standing to challenge BOP policies regarding communal
   prayer.” Doc 243 at 7. Plaintiff has now limited the substantive relief he is seeking to the diet
   and imam issues. Specifically, in his Trial Brief, he requests that BOP staff “at all facilities BOP
   places Mr. Ajaj … to … provide Mr. Ajaj with a [h]alal diet in accordance with his religious
   belief’ and ‘provide Mr. Ajaj with meaning access to an [i]mam on a weekly basis.’” ECF No.
   272 at 2 (ellipses in original).
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   discriminate must be present.” SECSYS, LLC v. Vigil, 666 F.3d 678, 685 (10th Cir. 2012).

          A showing of a discriminatory purpose generally requires more than mere proof of

   different treatment or disparate impact. McCleskey v. Kemp, 481 U.S. 279, 293 & n. 12 (1987).

   Courts have thus rejected equal protection claims when those claims are based on the mere

   ground that a halal diet is not provided, but other religious diets are. See, e.g., Robinson, 615 F.

   App’x at 314-15 (rejecting an equal protection claim challenging the absence of a halal diet, and

   holding that alleging that some other inmates received special diets was not enough to allege

   intentional discrimination); Hearn v. Kennell, 433 F. App’x 483, 484 (7th Cir. 2011) (rejecting

   an equal protection claim based on just the fact that the prison was not serving halal meat).

          One circuit has specifically addressed a claim that the BOP’s “common fare” diet

   discriminates against Muslims. Patel v. U.S. Bureau of Prisons, 515 F.3d 807 (8th Cir. 2008).

   The court in Patel rejected the claim, observing that the common fare diet was intended to serve

   inmates of numerous faiths, including Muslims. Id. at 815–16 (holding that the decision to serve

   kosher entrées but not halal entrées was not motivated by intentional discrimination, as BOP

   officials believed that they had accommodated the needs of a halal diet through a common diet).

   The court observed that when the BOP designed its common fare diet, it consulted with various

   religious leaders, including Muslims, researched the beliefs of numerous faiths, and developed a

   menu designed to accommodate all of the estimated thirty-one religious groups. Id. at 809-10.

          Third, if the Court were to find that Plaintiff’s equal protection rights were violated, there

   would be still another step to the inquiry, which in turn requires a multi-part analysis. The

   analysis of a prisoner’s equal protection claim is guided by the framework established in Turner

   v. Safley, 482 U.S. 78 (1987). Washington v. Harper, 494 U.S. 210, 223-24 (1990) (“We made

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   quite clear that the standard of review we adopted in Turner applies to all circumstances in which

   the needs of prison administration implicate constitutional rights.”); accord Riley v. DeCarlo,

   532 F. App’x 23, 28 (3d Cir. 2013) (unpublished) (applying the four Turner factors in rejecting

   an inmate’s equal protection challenge to a denial of a halal diet).

   II.    MOOTNESS

          As Plaintiff anticipates in his trial brief, the recent factual developments present the issue

   of mootness. Plaintiff now has access to an imam, and the evidence at trial will show that this is

   expected to continue. He also has a diet from a vendor with a halal certification, and the

   evidence at trial will be that this is expected to continue as well. These developments raise the

   issue of mootness because courts are disinclined to opine on important issues “based upon the

   speculative suggestion that a plaintiff might be returned to a setting where he would be subject to

   allegedly unconstitutional practices.” Jordan v. Sosa, 654 F.3d 101 (10th Cir. 2011) (discussing

   mootness). The BOP sets forth below a brief discussion of the applicable mootness standards.

          First, in assessing whether a case is moot, the Court must take into account the limits on

   the relief it could provide. A provision in the Prison Litigation Reform Act, 18 U.S.C. §

   3626(a)(1), 2 provides that a court cannot provide “prospective relief” unless such relief is

   “necessary to correct the violation” of a federal right:

          Prospective relief in any civil action with respect to prison conditions shall extend
          no further than necessary to correct the violation of the Federal right of a
          particular plaintiff or plaintiffs. The court shall not grant or approve any
          prospective relief unless the court finds that such relief is narrowly drawn,
          extends no further than necessary to correct the violation of the Federal right, and
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           Section 3626(a)(1) applies to prisoner claims brought under RFRA or RLUIPA. See,
   e.g., Lindh v. Warden, 2013 WL 139699, **15-16 (S.D. Ind. Jan. 11, 2013) (applying
   § 3626(a)(1)); accord Mayweather v. Terhune, 328 F. Supp. 2d 1086, 1102 (E.D. Cal. 2004);
   James v. Lash, 949 F. Supp. 691 (N.D. Ind. 1996).
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          is the least intrusive means necessary to correct the violation of the Federal right.
          The court shall give substantial weight to any adverse impact on public safety or
          the operation of a criminal justice system caused by the relief.

   18 U.S.C. § 3626(a)(1); see also § 3626(b)(3) (providing that when a court does issue an

   injunction, it later must terminate it unless it finds “prospective relief remains necessary to

   correct a current and ongoing violation”). As one court discussing § 3626(a)(1) observed, “[i]n

   other words, if a violation no longer exists, the statute does not permit the court to order

   prospective relief.” Hallett v. Morgan, 296 F.3d 732 (9th Cir. 2002).

          This limitation—that “prospective relief” can be granted in such cases only where there is

   a current violation—is significant here because the only relief Plaintiff seeks is “prospective

   relief,” as that term is defined in § 3626. The statute says “the term ‘prospective relief’ means all

   relief other than compensatory monetary damages.” 18 U.S.C. § 3626(g)(7). Here, the only

   relief Plaintiff seeks is injunctive and declaratory, not monetary damages. Thus, if there is no

   violation to correct, then there is no relief the Court can award here. This special limitation for

   suits covered by § 3626(a)(1) is relevant to the Court’s analysis of the mootness issue. 3

          Second, Plaintiff raises a concern that the BOP will start up the challenged conduct after

   the litigation ends. ECF No. 272 at 4-5. “The heavy burden of persuading the court that the

   challenged conduct cannot reasonably be expected to start up again lies with the party asserting

   mootness.” Friends of the Earth v. Laidlaw Envt’l Svcs., 528 U.S. 167, 189 (2000).

          But “[i]n practice, however, Laidlaw’s heavy burden frequently has not prevented


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           The Court also may take into account that in this Circuit, injunctions directed to extra-
   circuit prison officials are discouraged. Jordan v. Sosa, 654 F.3d 101 (10th Cir. 2011) (in
   deciding that a challenge to BOP policy was prudentially moot, the court took into account that
   any order “would seek to bind non-party, extra-circuit BOP officials in the very manner that our
   case law discourages,” as those prison officials “could be subject to conflicting advisements”).
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   government officials from discontinuing challenged practices and mooting a case.” Rio Grande

   Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1116 (10th Cir. 2010) (citing cases).

   A court “may decline to grant relief when the government … has already changed or is in the

   process of changing its positions or where it appears that any repeat of the actions in question is

   otherwise highly unlikely.” Citizen Ctr. v. Gessler, 770 F.3d 900, 909 (10th Cir. 2014); see also

   Rio Grande, 601 F.3d at 1117 (“The “[w]ithdrawal or alteration of administrative policies can

   moot an attack on those policies.”) (internal quotation marks omitted).

          “Self-correction” by the government can serve as a proper basis for mootness. The Tenth

   Circuit has explained that “courts are more apt to trust public officials than private defendants to

   desist from future violations.” Ghailani v. Sessions, 859 F.3d 1295, 1302 (10th Cir. 2017); see

   also Rio Grande, 701 F.3d at 1118 (citing with approval the observation in 13C Wright et al.,

   Federal Practice and Procedure, § 3533.7, “that although governmental defendants may take

   action as a direct response to litigation, ‘at any rate, self-correction again provides a secure

   foundation for mootness as long as it seems genuine’”).

          It is not enough to speculate that the government might reverse course. The Tenth Circuit

   made this point clear in Rio Grande, explaining that “the mere possibility that an agency might

   rescind amendments to its actions or regulations does not enliven a moot controversy…. A case

   ceases to be a live controversy if the possibility of recurrence of the challenged conduct is only a

   speculative contingency.” Id. at 1117 (internal marks omitted). Instead, the Court must focus on

   whether the evidence shows a reasonable expectation that the government will revert to past

   conduct. The Court may consider, for example, whether there is evidence that the government’s

   change in position was a sham, where the government may simply re-start the challenged

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   conduct once the litigation is over. See Rio Grande, 601 F.3d 1096 (quoting with approval the

   statement in Sossamon v. Lone Star State of Texas, 560 F.3d 316, 325 (5th Cir. 2009), that “We

   will not require some physical or logical possibility that the challenged policy will be reenacted

   absent evidence that the voluntary cessation is a sham for continuing possibly unlawful

   conduct”); Rio Grande, 601 F.3d at 1117, 1119 (concluding that there was “some possibility that

   [the BLM] would revert” to its prior approach but that there was “no reasonable expectation that

   [it] will revert”) (emphasis in original).

           Third, Plaintiff suggests that the conduct at issue may fit into the narrow exception of

   controversies that are “capable of repetition but evading review.” ECF No. 272 at 5-6. This

   exception is extraordinarily hard to meet, and requires an evidentiary showing that any future

   violation could not be litigated. A “bare speculation” that a future violation might be too brief to

   litigate “cannot substitute for actual evidence from which we might infer that this governmental

   behavior is necessarily of short duration.” Front Range Equine Rescue v. Vilsack, 782 F.3d 565

   (10th Cir. 2015) (emphasis in original). See, e.g., Jordan, 654 F.3d at1036 (10th Cir. 2011)

   (rejecting an inmate’s argument that the possibility that he might be transferred in the future

   showed that “claims such as his would consistently evade review”).

           Fourth, Plaintiff suggests that the BOP acted improperly by making these changes with

   respect to him. He cites cases that criticize parties for “manipulation” of a court’s jurisdiction,

   ECF No. 272 at 4 & n.3, but those cases addressed a different scenario, where a party won at the

   district court, then tried to preserve that win by mooting the case on appeal. See Seneca-Cayuga

   Tribe of Oklahoma v. National Indian Gaming Comm’n, 327 F.3d 1019, 1029 (10th Cir. 2003)

   (“We, however, read City of Erie as expressing a generalized concern about manipulation of an

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   appellate court’s jurisdiction to seal a favorable decision from review.”).

          Moreover, in a case seeking prospective injunctive relief, it is appropriate for prison

   officials to point to the actual circumstances at the time of trial, including any recent changes

   to the conduct being challenged. A court deciding whether to award prospective relief

   against a prison must focus, at trial, on “the prison authorities’ current attitudes and

   conduct.” Farmer v. Brennan, 511 U.S. 825, 845 (1994) (observing that in an Eighth

   Amendment case seeking injunctive relief, “to establish eligibility for an injunction, the

   inmate must demonstrate the continuance” of the violation “into the future”). The Court

   explained that prison officials may rely at trial on “developments that postdate the pleadings

   … to establish that the inmate is not entitled to an injunction, and that “a district court …

   may, for example, exercise its discretion if appropriate by giving prison officials time to

   rectify the situation before issuing an injunction.” Id. at 846.

   V.     FORMER WARDEN OLIVER AND CHAPLAIN CASTLE

          Plaintiff suggests that testimony from former Warden John Oliver and Chaplain Michael

   Castle will be improper. ECF No. 272 at 7-10. It won’t be.

          Former Warden Oliver was designated by the BOP as an expert. Plaintiff suggests his

   opinions should be excluded because his original expert report referred to the ADX, where

   Plaintiff was housed at the time. Plaintiff’s brief acknowledges that Mr. Oliver was disclosed as

   to opinions in his report relating to Mr. Ajaj’s background and as to “general principles of sound

   correctional management.” ECF No. 272 at 9. After Plaintiff was transferred to USP Terre

   Haute, the BOP further disclosed that the BOP still intended to rely on those opinions as to Mr.

   Ajaj’s background and general principles of sound correctional management. Plaintiff argues

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   that Mr. Oliver should not be permitted to testify on those issues at trial because Mr. Oliver’s

   original expert designation referred to the “ADX Step-Down program” (where Plaintiff was

   housed at the time). But the original report and the later confirmation adequately disclosed that

   Mr. Oliver would opine on matters in his report relating to Mr. Ajaj’s background and principles

   of sound correctional management.

          Chaplain Castle’s testimony will be proper. He will testify properly to areas within his

   personal knowledge. The scope of his testimony is well known to Plaintiff, as Chaplain Castle

   was the deponent for a broad set of topics determined by Plaintiff under a Rule 30(b)(6) notice.

          Respectfully submitted this 26th day of August, 2018.

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 26, 2018, I electronically filed the foregoing document and
   attached exhibits with the Clerk of Court using the CM/ECF system, which will send electronic
   notification to the following email addresses:


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                                                s/ Kevin Traskos
                                                United States Attorney’s Office
